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                                       ORDERED.


         Dated: August 09, 2019




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

In re:                                                              Case No. 6:19-bk-03539-KSJ
                                                                    Chapter 7
DEBORAH SUE ANN KILLIAN
aka Deborah Schwartztrauber
aka Deborah Green,

      Debtor.
______________________________/

                AGREED ORDER GRANTING MOTION FOR RELIEF FROM
                AUTOMATIC STAY WITH A DELAYED EFFECTIVE DATE
                         (Cancels hearing for August 13, 2019)

          THIS CASE is before the Court upon the MOTION FOR RELIEF FROM

AUTOMATIC STAY (Doc 10) filed by PennyMac Loan Services, LLC (“Movant”), and the

TRUSTEE’S RESPONSE TO PENNYMAC LOAN SERVICES, LLC’S MOTION FOR

RELIEF FROM AUTOMATIC STAY (Doc 13). By submitting this Order as “Agreed,”

Movant’s attorney represents that the Trustee agrees with the terms hereof. Based on said

representation, and the Court being otherwise duly advised in the premises, it is

          ORDERED as follows:

          1.     The Motion for Relief from Automatic Stay (Doc 10) is granted, but the effective




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date of this order is delayed until November 15, 2019.

       2.      If, prior to November 15, 2019:

               a. The Trustee obtains a Contract for the sale of the property at a price sufficient

                   to pay Movant’s claim in full (or a written agreement by Movant to accept

                   some lesser amount), along with a deposit of not less than 1% of the purchase

                   price, and

               b. Files a Motion for Approval of said sale.

then the effective date of this order shall be extended until the Court rules on said Motion.

       3.      If no such Motion is filed by November 14, 2019, the automatic stay shall lift on

November 15, 2019 without further notice or hearing.

       4.      The hearing scheduled for 1:30 PM on August 13, 2019 is canceled.

                                                 ###

Attorney Frederic J. DiSpigna is directed to serve a copy of this order on interested parties who
do not receive service by CM/ECF and file a proof of service within 3 days of entry of the order.




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